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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

LUCILLE ANDERSON, SARA ALAMI,
GIANELLA CONTRERAS CHAVEZ,                    Civil Action No.
DSCC, and DEMOCRATIC PARTY OF                 1:20-cv-03263-MLB
GEORGIA, INC.,

            Plaintiffs,

      v.

BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State
and the Chair of the Georgia State Election
Board; REBECCA N. SULLIVAN, DAVID
J. WORLEY, MATTHEW MASHBURN,
and ANH LE, in their official capacities as
Members of the Georgia State Election
Board; MARY CAROLE COONEY,
MARK WINGATE, VERNETTA
NURIDDIN, KATHLEEN RUTH, and
AARON JOHNSON, in their official
capacities as Members of the FULTON
County Board of Registration and Elections;
SAMUEL E. TILLMAN, ANTHONY
LEWIS, SUSAN MOTTER, DELE
LOWMAN SMITH, and BAOKY N. VU, in
their official capacities as Members of the
DEKALB County Board of Registration and
Elections; PHIL DANIELL, FRED AIKEN,
JESSICA M. BROOKS, NEERA BAHL,
and DARRYL O. WILSON, JR., in their
official capacities as Members of the COBB
County Board of Elections and Registration;
JOHN MANGANO, BEN SATTERFIELD,
WANDY TAYLOR, STEPHEN DAY, and
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ALICE O’LENICK, in their official
capacities as Members of the GWINNETT
County Board of Registrations and
Elections; THOMAS MAHONEY III,
MARIANNE HEIMES, MALINDA
HODGE, ANTWAN LANG, and DEBBIE
RAUERS, in their official capacities as
Members of the CHATHAM County Board
of Elections; CAROL WESLEY,
DOROTHY FOSTER HALL, PATRICIA
PULLAR, DARLENE JOHNSON, and
DIANE GIVENS, in their official capacities
as Members of the CLAYTON County
Board of Elections and Registrations; DAN
RICHARDSON, DONNA MORRIS-
MCBRIDE, ANDY CALLAWAY, ARCH
BROWN, and MILDRED SCHMELZ, in
their official capacities as Members of the
HENRY County Board of Elections and
Registration; MYESHA GOOD, DAVID C.
FEDACK, ROBERT PROCTOR, DANIEL
ZIMMERMANN, and MAURICE HURRY,
in their official capacities as Members of the
DOUGLAS County Board of Elections and
Registration; and RINDA WILSON,
HENRY FICKLIN, HERBERT
SPANGLER, CASSANDRA POWELL,
and MIKE KAPLAN, in their official
capacities as members of the MACON-
BIBB County Board of Elections,

             Defendants.


   ORDER GRANTING UNOPPOSED MOTION FOR LEAVE TO FILE
    EXCESS PAGES IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                PRELIMINARY INJUNCTION
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      Presently before the Court is Plaintiffs’ Consent Motion for Leave to File

Excess Pages in Support of Their Motion for Preliminary Injunction. In this Consent

Motion, Plaintiffs ask to file up to an additional ten (10) pages—for a total of thirty-

five (35) pages—in their opening brief in support of their Motion for Preliminary

Injunction. Plaintiffs contend that these additional pages are necessary due to the

extensive facts and number and complexity of issues in this case.

      For good cause shown, and noting Defendants’ consent, the Court GRANTS

Plaintiffs’ Motion. Plaintiffs may file up to an additional ten (10) pages—for a total

of thirty-five (35) pages—in their opening brief in support of their Motion for

Preliminary Injunction.

      SO ORDERED, this ____ day of August, 2020.


                                               ______________________________
                                               The Honorable Michael L. Brown
                                               United States District Judge
                                               Northern District of Georgia
